Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 1 of 27 PageID 420




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

ANDREA THOMAS, DEANDRE TINSON,
and SHONNIKA SPEARS, on behalf of
themselves and all others similarly situated,

                Plaintiffs,

      vs.
                                                     Case Nos.19-cv-01528,
AMAZON.COM SERVICES, INC.,                           21-cv-00442
AMAZON LOGISTICS, INC.,
AMAZON.COM LLC, JSTC, LLC,                           COLLECTIVE ACTION
COMMERCIAL EXPRESS, INC., COEI,                      JURY TRIAL DEMANDED
LLC, AG PLUS EXPRESS, LLC, and
DROP A BOX, INC.,

             Defendants.
___________________________________/

   CONSOLIDATED AMENDED COLLECTIVE ACTION COMPLAINT

      Plaintiffs Andrea Thomas (“Thomas”), DeAndre Tinson (“Tinson”), and

Shonnika Spears (“Spears”) (collectively, “Plaintiffs”) through their undersigned

counsel, individually, and on behalf of all persons similarly situated, file this Second

Amended Collective Action Complaint (“Complaint”) against Defendants

Amazon.com Services, Inc., LLC, Amazon.com LLC, and Amazon Logistics, Inc.

(together, “Amazon”), Commercial Express, Inc. and COEI, LLC (“COEI”)

(together, “Commercial Express”), JSTC, LLC (“JSTC”), AG Plus Express, LLC

(“AG Plus”), and Drop a Box, Inc. (“Drop a Box”) (collectively, “Defendants”)

seeking all available remedies under the Fair Labor Standards Act (“FLSA”), 29
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 2 of 27 PageID 421




U.S.C. §§ 201, et seq. The following allegations are based on personal knowledge

as to Plaintiffs’ own conduct and are made on information and belief as to the acts of

others.

                                 INTRODUCTION

      1.     This case is about Amazon’s unlawful scheme to attempt to avoid

responsibility for paying its Delivery Associates in accordance with applicable wage

and hour laws by attempting to contract out that responsibility to third-party Delivery

Service Providers (“DSP”), such as Defendants COEI, Commercial Express, Inc.,

AG Plus, JSTC, and Drop a Box.

      2.     Defendants jointly employ non-exempt Delivery Associates such as

Plaintiffs and members of the proposed Collective, to deliver packages to Amazon

customers (“Delivery Associates”).

      3.     Defendants failed to comply with applicable wage laws and to pay non-

exempt Delivery Associates for all the time they worked – including overtime – as

was required to deliver hundreds of Amazon packages each day and meet Amazon’s

delivery needs.

                            JURISDICTION AND VENUE

      4.     Jurisdiction over Plaintiffs’ FLSA claim is proper under 29 U.S.C. §

216(b) and 28 U.S.C. § 1331.

      5.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391. Defendants



                                          2
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 3 of 27 PageID 422




reside in and conduct business in this Judicial District and/or a substantial part of the

events of omissions giving rise to Plaintiffs’ claims occurred within this district.

                                      PARTIES

       6.     Plaintiff Andrea Thomas is a citizen of Florida and resides in

Jacksonville, Florida. Plaintiff worked for Defendants Amazon, Commercial

Express, and JSTC as a Delivery Associate in Florida from approximately June 2018

to January 2019. Pursuant to 29 U.S.C. § 216(b), Plaintiff Thomas has consented to

be a plaintiff in this action.

       7.     Plaintiff DeAndre Tinson is a citizen of Florida and resides in

Jacksonville, Florida.      Plaintiff Tinson worked for Defendants Amazon and

Commercial Express as a Delivery Associate in Florida from approximately

September 2018 to March 2019. Pursuant to 29 U.S.C. § 216(b), Plaintiff Tinson has

consented to be a plaintiff in this action.

       8.     Plaintiff Shonnika Spears is a citizen of Florida and resides in

Jacksonville, Florida.      Plaintiff worked for Defendants Amazon, Commercial

Express, and Drop a Box as a Delivery Associate in Florida from approximately

February 2018 through August 2018, and then for Defendants Commercial Express

and JSTC from approximately August 2018 through April 2019. Pursuant to 29

U.S.C. § 216(b), Plaintiff Spears has consented to be a plaintiff in this action.

       9.     Defendant Amazon.com LLC was a limited liability company with



                                              3
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 4 of 27 PageID 423




principal offices in Seattle, Washington, which operated throughout the United

States, including in this Judicial District. On January 1, 2019, Amazon.com LLC

merged into Amazon.com Services, Inc. and ceased to exist as an entity.

      10.    Defendant Amazon.com Services, Inc. is a company with principal

offices in Seattle, Washington, which operates throughout the United States,

including in this Judicial District.

      11.    Defendant Amazon Logistics, Inc. is a corporation with principal

offices in Seattle, Washington, which operates throughout the United States,

including this Judicial District.

      12.    Defendant Commercial Express, Inc. is a corporation with principal

offices in Lake Mary, Florida. Commercial Express, Inc. is the parent company of

COEI, with which it has common owners, agents, and a business address.

Commercial Express entered into agreements with or otherwise directed a number of

Delivery Service Providers, including the DSPs, to service Delivery Service Provider

contracts to which Amazon is a party.

      13.    Defendant COEI is a limited liability company with principal offices in

Lake Mary, Florida. COEI is a subsidiary company of Commercial Express, Inc.,

with which it has common owners, agents, and a business address. COEI provided

Delivery Associates to Amazon as a Delivery Service Provider.

      14.    Defendant JSTC is a corporation organized under the laws of Florida



                                         4
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 5 of 27 PageID 424




with principal offices in Melbourne, Florida. JSTC provided Delivery Associates to

Amazon as a Delivery Service Provider. On information and belief, Commercial

Express contracted with and/or otherwise directed JSTC to deliver Amazon

packages from Amazon Delivery Stations located in Jacksonville, Florida.

      15.    Defendant AG Plus is a limited liability company with principal offices

in Windermere, Florida. AG Plus provided Delivery Associates to Amazon as a

Delivery Service Provider. Commercial Express entered into a contract with AG

Plus, pursuant to which AG Plus delivered Amazon packages from Amazon Delivery

Stations located throughout Florida – in Orlando, Davenport, Fort Myers, and

Sarasota.

      16.    Defendant Drop A Box is a corporation with principal offices in Saint

Cloud, Florida. Drop a Box provided delivery Associates to Amazon as a Delivery

Service Provider. On information and belief, Commercial Express contracted with

and/or otherwise directed Drop A Box to deliver Amazon packages from Amazon

Delivery Stations located in Jacksonville, Florida.

      17.    Defendants COEI, Commercial Express, Inc., AG Plus, JSTC, and Drop

a Box are jointly referred to as the COEI Entities.

      18.    The unlawful acts alleged in this Complaint were committed by

Defendants and/or Defendants’ officers, agents, employees, or representatives, while

actively engaged in the management of Defendants’ businesses or affairs and with



                                          5
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 6 of 27 PageID 425




the authorization of the Defendants.

       19.    During times relevant, the Defendants acted as joint employers with

respect to the Delivery Associates who delivered Amazon’s packages.

       20.    During times relevant, Plaintiff Tinson was an employee of Defendants

Amazon, Commercial Express, Inc and COEI and is covered by the FLSA.

       21.    During times relevant, Plaintiff Thomas was an employee of Defendants

Amazon, Commercial Express, and JSTC and is covered by the FLSA.

       22.    During times relevant, Plaintiff Spears was an employee of Defendants

Amazon, Commercial Express, Drop A Box, and/or JSTC and is covered by the

FLSA.

       23.    Defendants are employers covered by the FLSA.

       24.    Defendants employ individuals, including Delivery Associates, in

Florida, as well as potentially other states.

       25.    Defendants employ individuals engaged in commerce or in the

production of goods for commerce and/or handling, selling, or otherwise working on

goods or materials that have been moved in or produced in commerce by any person,

as described by 29 U.S.C. §§ 206-207.

       26.    Defendants’ annual gross sales exceed $500,000.

                            COLLECTIVE DEFINITION

       27.    Plaintiffs bring Count I of this lawsuit pursuant to the FLSA, 29 U.S.C.


                                            6
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 7 of 27 PageID 426




§ 216(b), as a collective action on behalf of themselves and the following class:

       All current and former Delivery Associates who were paid by
       Defendants Commercial Express, COEI, LLC, or any one of its
       subcontractors, including AG Plus Express, LLC, JSTC, LLC, and/or
       Drop a Box, Inc. to deliver packages for Amazon in the United States
       during the applicable limitations period (the “FLSA Collective”).1

       28.    Plaintiffs reserve the right to redefine the FLSA Collective prior to

notice or certification, and thereafter, as may be warranted or necessary.

                                         FACTS

                           Defendants are Joint Employers

       29.    Amazon is one of the largest businesses engaged in the interstate

shipment of goods in the United States.

       30.    Amazon holds itself out as a company able to transport goods across

the United States to customers in a short time period.

       31.    Amazon is widely known as a company able to transport goods across

the United States to customers in a short time period.

       32.    Amazon utilizes Delivery Service Providers, such as Commercial

Express, COEI, LLC, or any one of its subcontractors, including AG Plus Express,

LLC, JSTC, LLC, and/or Drop a Box, Inc., to transport goods across the country to

customers in a short time period.


1
  The FLSA Collective does not include individuals who have opted into Gibbs v. MLK Express,
LLC, Case No. 2:18-cv-434-SPC-MRM, an action pending in the United States District Court for
the Middle District of Florida.


                                             7
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 8 of 27 PageID 427




      33.     Amazon and Delivery Service Providers are in the business of

delivering goods across the United States.

      34.     Amazon relies on Delivery Service Providers, such as Commercial

Express, COEI, LLC, or any one of its subcontractors, including AG Plus Express,

LLC, JSTC, LLC, and/or Drop a Box, Inc., for the essential services of transporting

goods from Amazon warehouses to Amazon customer’s doors as quickly as possible.

      35.     Delivery Service Providers’ delivery services are an integral part of

Amazon’s business purpose; without the use of Delivery Service Providers like

Commercial Express, COEI, LLC, or any one of its subcontractors, including AG

Plus Express, LLC, JSTC, LLC, and/or Drop a Box, Inc., Amazon could not get their

goods to their customers.

      36.     Amazon attempts to shield itself from liability by utilizing companies,

such as Commercial Express, COEI, LLC, or any one of its subcontractors, including

AG Plus Express, LLC, JSTC, LLC, and/or Drop a Box, Inc., to provide the

employees to transport their goods.

      37.     Commercial Express, COEI, LLC, or any one of its subcontractors,

including AG Plus Express, LLC, JSTC, LLC, and/or Drop a Box, Inc., provides

delivery services for Amazon at one or more of Amazon’s Delivery Stations through

the use of Delivery Associates such as Plaintiffs and members of the proposed

Collective.



                                          8
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 9 of 27 PageID 428




      38.    Delivery Associates are engaged to fulfill Amazon’s nationwide

delivery needs and make deliveries of goods from Amazon delivery stations to

Amazon customers.

      39.    Delivery Associates work in the transportation industry.

      40.    The goods that Delivery Associates deliver are purchased by customers

using Amazon’s digital platform (the Amazon.com website).

      41.    As required by Amazon, Commercial Express, COEI, LLC, or any one

of its subcontractors, including AG Plus Express, LLC, JSTC, LLC, and/or Drop a

Box, Inc. provides Delivery Associates, such as Plaintiffs and other Delivery

Associates, with a vehicle.

      42.    Plaintiff Thomas was hired in June 2018 and worked as a Delivery

Associate for Defendants Amazon, Commercial Express and JSTC until on or about

January 2019 in one of Amazon’s Florida Delivery Stations making deliveries of

packages on behalf of Amazon.

      43.    Plaintiff Tinson was hired in September 2018 and worked as a Delivery

Associate for Defendants Amazon, Commercial Express until on or about March

2019 in one of Amazon’s Florida Delivery Stations making deliveries of packages on

behalf of Amazon.

      44.    Plaintiff Spears was hired in February 2018 and worked as a Delivery

Associate for Defendants Amazon, Commercial Express, JSTC, and Drop a Box until



                                         9
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 10 of 27 PageID 429




 on or about April 2019 in one of Amazon’s Florida Delivery Stations making

 deliveries of packages on behalf of Amazon.

       45.    The goods that Delivery Associates deliver from Amazon delivery

 stations to Amazon customers originate, or are transformed into their final condition,

 in a different state than the delivery state.

       46.    The goods Delivery Associates deliver from Amazon delivery stations

 to Amazon customers are not transformed or modified during the shipping process.

       47.    Delivery Associates deliver goods to Amazon customers in the same

 condition as they were shipped to the Amazon delivery station.

       48.    Delivery Associates deliver goods to Amazon customers that were

 shipped around the United States.

       49.    Delivery Associates handle goods that travel interstate.

       50.    Delivery Associates are directly responsible for transporting goods in

 interstate commerce.

       51.    Delivery Associates drive vehicles in order to deliver Amazon

 packages, which is vital to the commercial enterprise of the Delivery Service

 Provider and Amazon.

       52.    A strike by Delivery Associates would disrupt interstate commerce.

       53.    Plaintiffs and other Delivery Associates are necessary in order for

 Amazon goods traveling interstate make it to their final destination.



                                             10
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 11 of 27 PageID 430




       54.   At all relevant times, Amazon has been affiliated with and/or operating

 with Commercial Express, COEI, LLC, or any one of its subcontractors, including

 AG Plus Express, LLC, JSTC, LLC, and/or Drop a Box, Inc., with respect to

 Plaintiffs and other similarly situated employees such that Amazon and Commercial

 Express, COEI, LLC, or any one of its subcontractors, including AG Plus Express,

 LLC, JSTC, LLC, and/or Drop a Box, Inc., are the “joint employers” of Plaintiffs

 and other similarly situated employees.

       55.   Delivery Associates are provided with and are required to use an

 Amazon.com “Rabbit,” a handheld device that provides the addresses of

 Amazon.com customers. The “Rabbit” is also used for navigation assistance,

 package scanning, and as a phone. The “Rabbit” also allows Amazon to contact and

 track a Delivery Associate’s movement and work progress.

       56.   Amazon has direct access to the “Rabbit” devices, which are given to

 and used by each Delivery Associate.

       57.   Amazon sets the delivery route that the Delivery Associate will

 complete.

       58.   Amazon assigns and provides routes to Delivery Service Providers,

 including Commercial Express, COEI, LLC, or any one of its subcontractors,

 including AG Plus Express, LLC, JSTC, LLC, and/or Drop a Box, Inc.




                                           11
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 12 of 27 PageID 431




       59.   Amazon supervises and controls the work activities, work schedules,

 conditions and management of Delivery Associates.

       60.   While Delivery Service Providers pay the Delivery Associates, Amazon

 has both influence and control over how Delivery Associates are paid. For example,

 based on a news report of a “leaked internal email,” in or around 2018, Amazon made

 “major changes to how some delivery drivers are paid to ‘enable transparency and

 accuracy of pay’,” including “prohibit[ing] [Delivery Service Providers] from paying

 drivers a flat daily rate.” See Hayley Peterson, Leaked email reveals Amazon is

 changing how delivery drivers are paid following reports of missing wages,

 BUSINESS INSIDER, Oct. 2, 2018, https://www.businessinsider.com/amazon-changes-

 delivery-pay-practices-following-missing-wage-reports-2018-10.

       61.   The United States Department of Labor’s Wage & Hour Division have,

 during wage and hour investigations, determined that Delivery Service Providers

 and Amazon are joint employers as defined in §792.1(b)(3). See, e.g., DOL Case ID:

 1888753 and Case ID: 1824581.

                   The Nature of the Relationship Between the
                     Defendant Delivery Service Providers

       62.   Commercial Express, Inc. is the parent company of COEI.             The

 companies are owned and operated by the same individuals -- Max Schottmiller,

 Peter Schottmiller, Patricia A. Hart – and operate out of the same business address:

 335 Lakeview Ave., Lake Mary, Florida 32746.


                                         12
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 13 of 27 PageID 432




       63.    Commercial Express entered into agreements with or otherwise directed

 a number of Delivery Service Providers, including the DSPs, to service Delivery

 Service Provider contracts to which Amazon is a party.

       64.    Commercial Express directed and controlled the work of the Delivery

 Associates who were hired by the DSPs in accordance with mandates as to work,

 conditions, and management that are set by Amazon.

       65.    Amazon was aware of this practice.

       66.    Commercial Express entered into a contract with AG Plus Express, LCC

 pursuant to which AG Plus Express, LCC delivers Amazon packages from Amazon

 Delivery Stations located throughout Florida, in Orlando, Davenport, Fort Myers, and

 Sarasota. See, First Amended Complaint, Optimal Logistics LLC et al. v. AG Plus

 Express, LLC et al., 6:18-cv-02224, ¶ 18 (M.D. Fl. Jan 29, 2019) (Dkt. No. 15).

       67.    On information and belief, Commercial Express also contracted with or

 otherwise directed JSTC, LLC and Drop A Box, Inc. to deliver Amazon packages

 from Amazon Delivery Stations located in Jacksonville, Florida.

       68.    Along with Amazon, Commercial Express controlled the work

 activities, policies, conditions, and management of the Delivery Service Providers

 with whom they contracted, including the DSPs, and the Delivery Associates that

 those Delivery Service Providers hired, such as Plaintiffs. On information and belief,

 these specifications concerning work activities, policies, conditions, and



                                          13
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 14 of 27 PageID 433




 management that that Commercial Express imposes were dictated by Amazon.

       69.    For example, in a portion of the contract between Commercial Express

 and AG Plus Express, LLC, Commercial Express provided that it would set the

 distribution points from which AG Plus Express, LLC Delivery Associates would

 receive packages, set specified windows in which Delivery Associate must make

 these deliveries, establish the Delivery Associates’ uniform according to

 specifications set out in the contract, and set other terms and policies with which AG

 Plus Express, LLC and its Delivery Associates were required to comply. See, First

 Amended Complaint, Optimal Logistics LLC et al. v. AG Plus Express, LLC et al.,

 Exh. A, 6:18-cv-02224 (M.D. Fl. Jan 29, 2019) (Dkt. No. 15).

       70.    On information and belief, Commercial Express maintained the right to

 directly enforce Amazon policies and procedures on the Delivery Associates hired

 by the DSPs.

       71.    For example, in its contract with AG Plus Express, LLC, Commercial

 Express provided that it was entitled to review compliance with its terms and policies

 through inspection of AG Plus Express, LLC’s business records, on site visits, “ride-

 along” observations of the Delivery Associates performing their job duties, and other

 inspections of the processes and procedures related to the delivery operations. Id.

 And, if any review established noncompliance with the terms and policies, the

 contract provided that Commercial Express had the right to demand prompt cure of



                                          14
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 15 of 27 PageID 434




 the non-compliance. Id.

          72.   On information and belief, Commercial Express entered into

 agreements with JSTC, LLC and Drop a Box, Inc. that had substantially similar terms

 to those set out in its contract with AG Plus Express, LLC.

                The Nature of Plaintiffs and Delivery Associates’ Work

          73.   The nature of the work performed by Delivery Associates is similar and

 standardized at each of the Delivery Station(s) where the DSPs provide services for

 Amazon, as the nature of the work is centrally controlled and directed by Amazon

 and Commercial Express.

          74.   Plaintiffs and other Delivery Associates began their shifts once they

 arrived at an Amazon facility to pick up their assigned vehicle or when they pick up

 their vehicle at an offsite facility.

          75.   Once the vehicle was picked up, Plaintiffs and other Delivery Associates

 would drive the vehicles to a separate Amazon Delivery Station. Upon arrival,

 Plaintiffs and Delivery Associates would pick up their assigned route, a “Rabbit”

 handheld scanning device, gas card, and packages.

          76.   Plaintiffs and other Delivery Associates were regularly scheduled to

 work five (5) or more days per week, with shifts that were scheduled for ten (10)

 hours.

          77.   Although shifts were scheduled for ten (10) hours per day, all of the



                                            15
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 16 of 27 PageID 435




 work-related activities that Plaintiffs and other Delivery Associates were required to

 and did perform often took ten (10) or more hours per day to complete.

       78.    Plaintiffs regularly worked more than forty (40) hours a week. Plaintiffs

 observed that other Delivery Associates routinely worked similar hours.

       79.    On average, Plaintiffs delivered between approximately 200-300

 Amazon packages per shift. Plaintiffs observed that other Delivery Associates

 routinely delivered a similar number of packages.

       80.    Even after Plaintiffs were finished delivering their assigned packages,

 Defendants routinely required them to “rescue” other Delivery Associates by going

 to meet other Delivery Associates in the field to help deliver some of their packages.

 Plaintiffs were directed to “rescue” other Delivery Associates and observed other

 Delivery Associates do the same.

       81.    Upon return to the Amazon Delivery Station, Plaintiffs and other

 Delivery Associates had to unload their vehicles and check in with supervisors

 concerning the day’s route.

       82.    After leaving the Amazon Delivery Station, Plaintiffs and other

 Delivery Associates had to park the vehicles at the separate off-site location.

       83.     Plaintiffs observed other Delivery Associates routinely work similar

 schedules. Defendants were not only aware of and permitted this practice, but the

 work schedules and conditions imposed by Defendants effectively required this



                                           16
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 17 of 27 PageID 436




 practice.

             Defendants Failed to Pay Delivery Associates Properly

       84.   Plaintiffs and other Delivery Associates regularly worked more than 40

 hours per week.

       85.   Plaintiffs and other Delivery Associates regularly worked five (5) or

 more days per week.

       86.   Defendants did not pay Plaintiffs and other Delivery Associates for all

 hours worked in excess of forty (40) hours in a workweek and did not pay proper

 overtime premiums.

       87.   Until directed to change pay policies by Amazon, Defendants paid the

 Delivery Associates a fixed amount of pay per day, and regularly did not pay

 overtime premiums for hours worked more than forty in a workweek.

       88.   On atypical occasions when Defendants did pay additional amounts

 on weeks that Plaintiffs worked more than forty hours per week, these amounts

 paid did not meet overtime requirements.

       89.   Plaintiff Tinson was paid $130 per scheduled ten-hour shift and he

 was not paid an overtime premium, despite regularly working more than 40 hours

 per week.




                                         17
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 18 of 27 PageID 437




         90.   For example, for the pay period between December 9, 2018 and

 December 15, 2018, Plaintiff Tinson’s paystub reflected 50 hours of work paid at

 $13 per hour, with no overtime premiums paid, as follows:




         91.   Plaintiff Thomas was paid $130 per scheduled ten-hour shift and she

 was not paid an overtime premium, despite regularly working 50-60 hours or more

 per week.

         92.   For example, for the pay period between November 12, 2018 and

 November 18, 2018, Plaintiff Thomas’s paystub reflected sixty hours of work paid

 at $13 per hour, with no overtime premiums paid, as follows:




         93.   Plaintiff Spears was paid $130 per scheduled ten-hour shift and she

 was not paid an overtime premium, despite regularly working 50 hours or more per

 week.

         94.   For example, Plaintiff Spears’ paystub reflected that she was paid

 “Daily” and set a pay rate at $130 per day, with no overtime premiums paid.

         95.   Some Delivery Associates also received other forms of compensation



                                          18
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 19 of 27 PageID 438




 for services in addition to the fixed sum of work per day.

       96.    Defendants’ pay policy, in which Plaintiff and other Delivery

 Associates are not compensated for all time worked and are not paid an overtime

 premium for all hours worked in excess of 40 per workweek, does not comply with

 the requirements of the Fair Labor Standards Act. See Hickman v. TL Transportation

 LLC, 317 F. Supp. 3d 890 (E.D. Pa. 2018) (granting summary judgment to the

 plaintiff in holding that a similar compensation scheme by another company that

 provided delivery services for Amazon violated the FLSA).

       97.    In or around 2018 or early 2019, Defendants began paying Delivery

 Associates an hourly rate plus overtime.

       98.    Based on information and belief, this pay change was dictated by

 Amazon and communicated to DSPs across the country, including the Defendant

 DSPs involved in this case.

       99.    Even after Defendants began paying Delivery Associates on an hourly

 basis, they both failed to count all hours worked for purposes of overtime and failed

 to include all forms of payment in the regular rate for purposes of calculating

 overtime compensation.

       100.   The Defendant DSPs’ contract with Amazon was terminated in or

 around 2019.




                                            19
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 20 of 27 PageID 439




              The Failure to Properly Pay Delivery Associates Is Willful

       101.    Defendants’ actions in violation of the FLSA were or are made willfully

 in an effort to avoid liability under the FLSA.

       102.    Despite being able to track Amazon packages to the second, Defendants

 have failed to make, keep and preserve records with respect to the Plaintiffs and

 other Delivery Associates sufficient to determine their lawful wages, actual hours

 worked, and other conditions of employment as required by law. See, e.g., 29 U.S.C.

 § 211(c); 29 C.F.R. §§ 516.5(a), 516.6(a)(1), 516.2(c) (requiring employers to

 maintain payroll records for three years and time sheets for two years, including the

 exact number of hours worked each day and each week).

       103.    Even though the FLSA and applicable state law requires overtime

 premium compensation for hours worked over 40 per week, Defendants do not pay

 Delivery Associates, such as Plaintiffs, proper overtime premium compensation for

 overtime hours worked.

       104.    Defendants knew or, absent their own recklessness should have known,

 that the Delivery Associates were entitled to such overtime premiums.

       105.    Defendants have failed to pay Plaintiffs and Delivery Associates all

 overtime compensation owed.

       106.    By failing to pay the all overtime compensation owed to Plaintiffs and

 other Delivery Associates, Defendants have acted willfully and with reckless



                                          20
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 21 of 27 PageID 440




 disregard of clearly applicable FLSA provisions.

        COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       107.   Plaintiffs bring this lawsuit pursuant to 29 U.S.C. § 216(b) as a

 collective action on behalf of the FLSA Collective defined above.

       108.   Plaintiffs desire to pursue their FLSA claims on behalf of any

 individuals who opt-in to this action pursuant to 29 U.S.C. § 216(b).

       109.   Plaintiffs and the FLSA Collective are “similarly situated,” as that term

 is used in 29 U.S.C. § 216(b), because, inter alia, all such individuals worked

 pursuant to Defendants’ previously described common pay practices and, as a result

 of such practices, were not paid for all hours worked when they worked more than

 forty (40) hours per week and were not paid the full and legally mandated overtime

 premium for hours worked over forty (40) during the workweek. Resolution of this

 action requires inquiry into common facts, including, inter alia, Defendants’

 common compensation, timekeeping and payroll practices.

       110.   Specifically, Defendants failed to pay overtime at time and a half (1½)

 the employee’s regular rate as required by the FLSA for hours worked in excess of

 forty (40) per workweek.

       111.   The similarly situated employees are known to Defendants and are

 readily identifiable and may be located through Defendants’ business records and

 the records of any payroll companies Defendants use.



                                          21
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 22 of 27 PageID 441




       112.   Defendants employ many FLSA Collective Members throughout

 Florida, and possibly elsewhere. These similarly situated employees may be readily

 notified of the instant litigation through direct means, such U.S. mail and/or other

 appropriate means, and should be allowed to opt into it pursuant to 29 U.S.C. §

 216(b), for the purpose of collectively adjudicating their similar claims for overtime

 and other compensation violations, liquidated damages (or, alternatively, interest),

 and attorneys’ fees and costs under the FLSA.

                                    COUNT I
                              Violation of the FLSA
                 (On Behalf of Plaintiffs and the FLSA Collective)

       113.   All previous paragraphs are incorporated as though fully set forth

 herein.

       114.   The FLSA requires that covered employees be compensated for all

 hours worked in excess of forty (40) hours per week at a rate not less than one and

 one-half (1 ½) times the regular rate at which he is employed. See 29 U.S.C. §

 207(a)(1).

       115.   Defendants are subject to the wage requirements of the FLSA because

 Defendants are each an “employer” under 29 U.S.C. § 203(d).

       116.   The FLSA recognizes that more than one entity can be responsible for

 wage violations as an employer. Indeed, the FLSA’s very broad definition of

 “employ”—which includes to “suffer or permit to work”—was designed to reach



                                          22
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 23 of 27 PageID 442




 businesses, such as Amazon, that use middlemen such as the COEI Entities, to

 directly employ Delivery Associates.

       117.   The FLSA defines an employee as ‘any individual employed by an

 employer, an employer to include any person acting directly or indirectly in the

 interest of an employer in relation to an employee, and the term employ to include

 to suffer or permit to work. 29 U.S.C. §§ 203(e)(1), 203(d), 203(g).

       118.   In 1945, the Supreme Court noted that “the term ‘employee’” in the

 FLSA has “‘the broadest definition . . . ever . . . included in any one act.’” United

 States v. Rosenwasser, 323 U.S. 360, 363 n.3 (1945) (quoting 81 Cong. Rec. 7657

 (1937) (statement of Sen. Hugo Black)).

       119.   The FLSA must be construed liberally because broad coverage is

 essential to accomplish its goals. One goal is to root out wage and hour violations

 by holding “businesses [that] allow work to be done on their behalf” and have the

 power “to prevent wage and hour abuses responsible, regardless of indirect

 business relationships or business formalities.” See New York v. Scalia, No. 1:20-

 cv-1689-GHW, 2020 WL 5370871, *20 (S.D.N.Y. Sept. 8, 2020) (quoting Kati L.

 Griffith, The Fair Labor Standards Act at 80: Everything Old Is New Again, 104

 Cornell L. Rev. 557, 571 (2019)) (emphasis added).

       120.   At all relevant times, Defendants were each an “employer” engaged in

 interstate commerce and/or in the production of goods for commerce within the



                                           23
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 24 of 27 PageID 443




 meaning of the FLSA, 29 U.S.C. § 203.

       121.   During all relevant times, Plaintiffs and Collective Members were

 covered employees entitled to the above-described FLSA protections. See 29 U.S.C.

 § 203(e).

       122.   Plaintiffs and Collective Members are not exempt from the

 requirements of the FLSA.

       123.   Plaintiffs and Collective Members are entitled to be paid overtime

 compensation for all hours worked over forty (40) in a workweek pursuant to 29

 U.S.C. § 207(a)(1) and 29 C.F.R. § 778.112.

       124.   Defendants’ compensation scheme applicable to Plaintiffs and

 Collective Members failed to comply with either 29 U.S.C. § 207(a)(1) or 29 C.F.R.

 § 778.112.

       125.   Defendants knowingly failed to compensate Plaintiffs and Collective

 Members for all hours worked when they worked in excess of forty (40) hours per

 week and failed to pay proper overtime premiums at a rate of one and one-half (1 ½)

 times their regular hourly wage, in violation of 29 U.S.C. § 207(a)(1) and 29 C.F.R.

 § 778.112.

       126.   Defendants also failed to make, keep, and preserve records with respect

 to Plaintiffs and Collective Members sufficient to determine their wages, hours, and

 other conditions of employment in violation of the FLSA. 29 U.S.C. § 211(c); 29



                                         24
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 25 of 27 PageID 444




 C.F.R. §§ 516.5(a), 516.6(a)(1), 516.2(c).

       127.   In violating the FLSA, Defendants acted willfully and with reckless

 disregard of clearly applicable FLSA provisions.

       128.   Pursuant to 29 U.S.C. § 216(b), employers such as Defendant, who

 intentionally fail to pay an employee wages in conformance with the FLSA shall be

 liable to the employee for unpaid wages, liquidated damages, court costs and

 attorneys’ fees incurred in recovering the unpaid wages.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs seek the following relief on behalf of themselves

 and all others similarly situated:

              a.     An order permitting this litigation to proceed as an FLSA
                     collective action pursuant to 29 U.S.C. § 216(b);

              b.     Prompt notice, pursuant to 29 U.S.C. § 216(b), of this litigation
                     to all potential FLSA Collective members;

              c.     Back pay damages (including unpaid overtime compensation,
                     unpaid spread of hours payments and unpaid wages) and
                     prejudgment interest to the fullest extent permitted under the law;

              d.     Liquidated damages to the fullest extent permitted under the law;

              e.     Litigation costs, expenses and attorneys’ fees to the fullest extent
                     permitted under the law; and

              f.     Such other and further relief as this Court deems just and proper.

                                      JURY DEMAND

       Plaintiffs demand a trial by jury for all issues of fact.

                                           25
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 26 of 27 PageID 445




 Dated:     September 3, 2021       Respectfully submitted,

                                    /s/ Janet R. Varnell
                                    Janet R. Varnell; FBN: 0071072
                                    Brian W. Warwick; FBN: 0605573
                                    VARNELL & WARWICK P.A.
                                    1101 E. Cumberland Ave. Suite 201H, #105
                                    Tampa, FL 33602
                                    Tel: (352) 753-8600
                                    Fax: (352) 504-3301
                                    jvarnell@varnellandwarwick.com
                                    bwarwick@ varnellandwarwick.com
                                    Sarah R. Schalman-Bergen
                                    (admitted pro hac vice)
                                    Krysten Connon (admitted pro hac vice)
                                    LICHTEN & LISS-RIORDAN, P.C.
                                    729 Boylston Street, Suite 2000
                                    Boston, MA 02116
                                    Tel.: (617) 994-5800
                                    Fax: (617) 994-5801
                                    ssb@llrlaw.com
                                    kconnon@llrlaw.com
                                    Ryan Allen Hancock (admitted pro hac vice)
                                    WILLIG, WILLIAMS & DAVIDSON
                                    1845 Walnut Street, 24th Floor
                                    Philadelphia, PA 19103
                                    Tel.: (215) 656-3600
                                    Fax: (215) 567-2310
                                    rhancock@wwdlaw.com
                                    Michaela L. Wallin (admitted pro hac vice)
                                    BERGER MONTAGUE PC
                                    1818 Market Street, Suite 3600
                                    Philadelphia, PA 19103
                                    Tel.: (215) 875-3000
                                    Fax: (215) 875-4620
                                    mwallin@bm.net
                                    Attorneys for Plaintiff and the
                                    Proposed FLSA Collective

                                      26
Case 6:19-cv-01528-RBD-GJK Document 87 Filed 09/03/21 Page 27 of 27 PageID 446




                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 3, 2021, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF system, which will send a

 notice of electronic filing to all counsel of record.



                                          /s/ Janet R. Varnell
                                          Janet R. Varnell




                                            27
